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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-MHT
RONALD LANDER                     )             (WO)


                              JUDGMENT

    In accordance with the memorandum opinion entered

this date, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The defendant Ronald Lander's objections (Doc.

         No. 1933) are overruled.

    (2) The       United       States       Magistrate         Judge's

         recommendation (Doc. No. 1929) is adopted.

    (3) Defendant       Lander’s      Amendment    505    motion    for

         reduction of sentence (Doc. No. 1920) is denied.

    DONE, this the 7th day of December, 2007.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
